 
    

        
		
        

        
        
        
        
        

        
		
        	
		CREATION OF THE UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT OVERSIGHT COMMITTEE



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:CREATION OF THE UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT OVERSIGHT COMMITTEE

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				CREATION OF THE UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT OVERSIGHT COMMITTEE2020 OK 61465 P.3d 1270Decided: 06/29/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 61, 465 P.3d 1270

				
Re: CREATION OF THE UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT OVERSIGHT COMMITTEE
ORDER
¶1 This Order amends paragraph 3 of SCAD 2019-65 entered on July 22, 2019. In all other respects, SCAD 2019-65 remains in effect.
¶2 The Task Force submitted an interim report on February 1, 2020, which included a recommendation to create pilot programs in order to improve the representation of children and parents in both urban and rural areas. The Task Force also unanimously voted to create a Parent Representation Program to implement attributes of high quality legal representation across the state.
¶3 In order to provide oversight to the Parent Representation Program and any pilot programs which may be created, as well as monitor the ongoing representation of children and parents paid by the district court fund budget, the Task Force will be renamed The Uniform Representation of Children and Parents in Cases Involving Abuse and Neglect Oversight Committee.
¶3 The Uniform Representation Oversight Committee shall submit an annual report to the Supreme Court regarding the status of uniform representation of children and parents in cases involving abuse and neglect not later than February 1st of each year.
¶4 Members will continue to serve without a specified term. The Chief Justice shall fill any vacancies as they occur.
¶5 DONE BY ORDER OF THIS COURT THIS 29TH DAY OF JUNE, 2020.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
